                                       
                                       
                               COURT OF APPEALS
                            TENTH DISTRICT OF TEXAS
                                center10985500
                               December 28, 2016
                              No. 10-15-00152-CR
                           ERRIC BERNARD PORTIS, JR.
                                      v.
                              THE STATE OF TEXAS
                                       
                                center-4254500
                        From the 361[st] District Court
                             Brazos County, Texas
                       Trial Court No. 13-05016-CRF-361
                                       
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JUDGMENT

This Court has reviewed the briefs of the parties and the record as relevant to the issues raised in this proceeding and finds that no reversible error is presented.  Accordingly, the trial court's judgments signed on April 16, 2015 are affirmed.
A copy of this judgment will be certified by the Clerk of this Court and delivered to the trial court clerk for enforcement.
						PER CURIAM
						SHARRI ROESSLER, CLERK294576517462500
				
982345724598500By: ___________________________
				Nita Whitener, Deputy Clerk

